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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 CAROLE GIBBS and ARTHUR COLBY,                  Case No. 4:16-cv-11010-TSH
 individually and on behalf of all others
 similarly situated,
                                                 CLASS ACTION
                        Plaintiffs,
     v.                                          DEMAND FOR JURY TRIAL
 SOLARCITY CORPORATION, a
 Delaware corporation,
                        Defendant.

                       PATRICK H. PELUSO CERTIFICATION IN SUPPORT
                         OF MOTION FOR ADMISSION PRO HAC VICE
       Pursuant to Local Rule 83.5.3, I, Patrick H. Peluso, certify as follows:
       1.      I am a partner of the law firm Woodrow & Peluso, LLC, located at 3900 East
Mexico Avenue, Suite 300, Denver, Colorado 80210.
       2.     I am a member in good standing of the following Courts:
        •   Supreme Court of Colorado – Admitted 11/3/2014
        •   U.S. District Court for the District of Colorado – Admitted 1/5/2015
        •   U.S. District Court for the Western District of Wisconsin – Admitted 6/15/2016
        •   U.S. District Court for the District of New Mexico – Admitted 6/20/2016
       3.      I have reviewed and am familiar with the Local Rules of this Court.
       4.      There are no disciplinary proceedings against me in any jurisdiction.
       5.      I am familiar with the factual and legal issues in this case.
               I hereby certify that the above is true and correct to the best of my knowledge.

Dated: July 27, 2016

                                              By: /s/ Patrick H. Peluso
